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 1                                                                     The Honorable Robert J. Bryan
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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT TACOMA
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      DAVID RICE and ELIZABETH RICE,
11    individually and as a marital community; and      NO. 3:20-cv-05223-RJB
      SETH DONAHUE, individually,
12                                                      PLAINTIFFS’ MOTION TO AMEND
                                     Plaintiffs,        PURSUANT TO FED. R. CIV. P. 15(b)(1)
13
      vs.
14

15    CITY OF ROY, a Washington municipality;
      CHRIS JOHNSON, individually; and
16    DARWIN ARMITAGE, individually
17                                   Defendants.
18                                     I. RELIEF REQUESTED
19          Plaintiffs, David Rice and Elizabeth Rice, individually and as a martial community, and
20 Seth Donahue, individually, by and through their attorneys of record, hereby submit their motion

21 to amend their complaint pursuant to Fed. R. Civ. P. 15(b)(1) and add Mayor Rawlin “Anthony”

22 McDaniel.

23                                   II. STATEMENT OF FACTS
24          During the course of trial, Defendants have, through arguments and evidence,
25 demonstrated that in fact, Mayor Rawlin (Anthony) McDaniel (hereinafter “Mayor McDaniel”)

26 along with Chiefs Armitage, ratified Officer Johnson’s actions through their failure to properly

     PLAINTIFFS’ MOTION TO AMEND                            DOLAN LAW FIRM, PC
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 1 investigate and initiate disciplinary action. Mayor McDaniel was the policy maker as it pertains

 2 to the City of Roy’s law enforcement policies and disciplinary actions.

 3                                   III. STATEMENT OF ISSUES

 4              The Plaintiffs’ Rule 15(b)(1) Motion to Amend presents one issue as follows:

 5         1.       Include Mayor Rawlin “Anthony” McDaniel as a defendant for purposes of 42

 6 U.S.C. § 1983 Monell claims against the City of Roy, is a policymakers for the City of Roy with respect

 7 to discipline?

 8         2.       Paragraphs VIII (identification of parties), XIX – XXIII (factual allegations), XXVI

 9 (Section 1983 action), XXIX (Negligence), XXXVII (loss of consortium) should be amended to include

10 Mayor McDaniel.

11                                  IV. EVIDENCE RELIED UPON

12         The Plaintiffs rely upon the pleadings already on record as well as the evidence and

13 testimony presented in Plaintiffs’ Case-in-Chief.

14                         V.     LEGAL AUTHORITY AND ARGUMENT

15 A.      Plaintiffs’ Move to Amend their Complaint under Rule 15(b(1)

16         Amendments to pleadings are liberally granted. (Forman v. Davis 83 S. Ct. 227).

17 Pursuant to Fed. R. Civ. P. 15(b)(1), when “…a party objects that evidence is not within the

18 issues raised in the pleadings, the court may permit the pleadings to be amended. The court

19 should freely permit amendment when doing so will aid in presenting the merits and the

20 objecting party fails to satisfy the court that the evidence would prejudice that party’s action or

21 defense on the merits.”

22         Here, Defendants themselves have identified Mayor McDaniel as the proper party with

23 respect to Plaintiffs’ ratification allegations against City of Roy and Chief Armitage. Mayor

24 McDaniel was the policy maker within the meaning of the statute.

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 1          Defendants would not be prejudiced by such an amendment where all Defendants,

 2 including Mayor McDaniel are represented by the same counsel and the same legal arguments,

 3 claims, and defenses apply to him as existing Defendant Chief Armitage.

 4 B.       Mayor Rawlin “Anthony” McDaniel Should be included in the Complaint

 5          The City of Roy, through either Armitages or the Mayor’s failure to perform any

 6 investigation whatsoever is evidence of his and the Roy PD’s reckless indifference to Johnson’s

 7 training and discipline such that he failed to learn and/or learned to ignore its policies, including

 8 those on the use of lethal force and shooting into a vehicle.

 9          Plaintiffs have presented evidence that the City of Roy should be liable because 1)

10 Johnson’s actions were ratified by an official policy maker of the City of Roy, both Armitage and

11 McDaniel and/or 2) The City of Roy and Armitage failed to properly train Johnson on the

12 constitutional use of lethal force, and/or 3) Johnson was acting pursuant of longstanding policies,

13 practices or customs that allowed Roy Police Officers to ignore and disregard written policies.

14          It has been testified to that the Mayor, on behalf of the City of Roy has fully ratified Johnson’s

15 action through the actions of their officials. Both McDaniel and Armitage have upheld Johnson’s

16 actions by completely ignoring his obvious constitutional violations when he attempted to kill Rice

17 and Donahue without warning. McDaniel, on behalf of the City of Roy, adopted Johnson’s full

18 version of the events and published his version in a press release. Ratification can also be evidence of

19 municipal policies that lead to constitutional violations, such as Roy’s policy, practice or procedure

20 of allowing Johnson to escape investigation or disciple for severe violations and major crimes.

21          Finally, Mayor McDaniel single handily ratified Officer Johnson’s conduct when he
22 testified that Johnson could stay however long he likes.

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 1                                     VI.     CONCLUSION

 2         Plaintiff’ Rule 15(b)(1) motion to amend to include Mayor Rawlin “Anthony” McDaniel

 3 with respect to the Monell claim, should be granted.

 4

 5         DATED this 14th day of September, 2021.

 6                                                   DOLAN LAW FIRM, PC
 7

 8
                                                     /s/ Jeremy M. Jessup
 9                                                   JEREM M. JESSUP, WSBA #57504
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13                                                   Attorney for Plaintiffs

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                                     CERTIFICATE OF SERVICE
 1
           The undersigned declares as follows:
 2
         1.    I am over the age of 21 and not a party to this action.
 3
         2.    I am an employee of Dolan Law Firm, PC, Attorney for Plaintiffs.
 4       3.    On  this day, I certify that I filed the foregoing with the Clerk of the Court using
   the CM/ECF system, which will send notification of such filing to the following:
 5

 6   Counsel for Defendants:                                               □ Messenger
                                                                           □ US Mail
 7   Ann E. Trivett, Esq., WSBA #39228                                     □ Facsimile
     Salim D. Lewis, Esq., WSBA #52660                                     □ Email
 8   Thomas P. Miller, Esq., WSBA #34473                                   ■ CM/ECF
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11   F: 206-352-7875
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12   salim@christielawgroup.com; tom@christielawgroup.com
13
           I certify under penalty of perjury under the laws of the State of California that the
14 foregoing is true and correct.

15         DATED at San Francisco, California this 14th day of September, 2021.
16

17
                                                         /s/ Maryleen Razo
18                                                       MARYLEEN RAZO
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